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WILLIAM M. NARUS, CAB #243633
Acting United States Attorney
District of Oregon
SEAN E. MARTIN, OSB #054338
Assistant United States Attorney
sean.martin@usdoj.gov
1000 S.W. Third Avenue, Suite 600
Portland, OR 97204
Telephone: (503) 727-1000
      Attorneys for Defendants



                  UNITED STATES DISTRICT COURT

                          DISTRICT OF OREGON

                          PORTLAND DISTRICT



 OREGON COUNCIL FOR THE                 Case No. 3:25-cv-00829-SI
 HUMANITIES; FEDERATION
 OF STATE HUMANITIES
 COUNCILS,                              RESPONSE TO PLAINTIFFS’
                                        MOTION FOR PRELIMINARY
                    Plaintiffs,         INJUNCTION

 v.

 U.S. DEPARTMENT OF
 GOVERNMENT EFFICIENCY;
 AMY GLEASON; NATIONAL
 ENDOWMENT FOR THE
 HUMANITIES; MICHAEL
 MCDONALD; NATIONAL
 COUNCIL ON THE
 HUMANITIES,

                    Defendants.
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                              INTRODUCTION

      This Court should deny Plaintiffs’ motion for preliminary injunction.

The requested injunction would go well beyond preserving the status quo;

Plaintiffs seek a disfavored mandatory injunction not to be granted “unless

extreme or very serious damage will result” and not to be issued in a

“doubtful” case “or where the injury complained of is capable of compensation

in damages.” Anderson v. United States, 612 F.2d 1112, 1114 (9th Cir. 1979)

(cleaned up). Plaintiffs fail to establish that the circumstances here warrant

their requested injunction.

      As Defendants explain below, Plaintiffs have no likelihood of success on

the merits of their claims. They cannot establish any violations of the

separation of powers or the Impoundment Control Act. Further, these claims

and their Administrative Procedure Act claims have no likelihood of success

in this Court because Plaintiffs’ claims are founded on their contracts with

the National Endowment for the Humanities (“NEH”) and they seek the

essentially contractual remedy of specific performance on their contracts.

Plaintiffs’ claims must be heard exclusively in the Court of Federal Claims.

      Plaintiffs also fail to establish a likelihood of irreparable harm that

warrants their requested injunction. Their alleged harms are predominantly

economic and can be remedied in the Court of the Federal Claims.



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      Next, Plaintiffs fail to establish that the balance of equities and public

interests tip in their favor. As Defendants explain below, there are important

equities and public interests that favor the government here.

      In any event, if this Court is considering granting any injunctive relief,

such relief must be narrowly tailored to address the harms directly suffered

by the named plaintiffs. Plaintiffs seek to restore grants to a host of state

and jurisdictional councils that are not parties in this action. Such an

injunction goes too far. Plaintiff Federation of State Humanities Councils is

not in privity with the government and lacks any rights under the grants

that NEH entered into with state humanities councils. The Federation is

neither a party to those grant agreements nor an intended third-party

beneficiary. The Federation lacks a legally protected interest in the grant

agreements that NEH entered into with individual councils, who are

nonparties to this case except the Oregon Council for the Humanities.

                               BACKGROUND

      NEH was created by statute in 1965. See National Foundation on the

Arts and the Humanities Act (the “Act”), Pub. L. 89-209, 20 U.S.C. § 951 et

seq. The Act notes that the “encouragement and support of national progress

and scholarship in the humanities and the arts, while primarily a matter for

private and local initiative, are also appropriate matters of concern to the

Federal Government.” Id. § 951(2).

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      The Act provides that that NEH “shall be headed by a chairperson, who

shall be appointed by the President, by and with the advice and consent of

the Senate.” 20 U.S.C. § 956(b). “The Chairperson, with the advice of the

National Council on the Humanities . . . , is authorized to enter into

arrangements, including contracts, grants, loans, and other forms of

assistance, to” carry out various specified purposes, including to “initiate and

support research and programs to strengthen the research and teaching

potential of the United States in the humanities by making arrangements

with individuals or groups to support such activities . . .” and to “initiate and

support programs and research which have substantial scholarly and cultural

significance and that reach, or reflect the diversity and richness of our

American cultural heritage, including the culture of, a minority, inner city,

rural, or tribal community.” Id. § 956(c).

      In early April 2025, considering the new Administration’s priorities and

Executive Orders, NEH terminated 79 general operating support grants to

state and jurisdictional humanities councils. Declaration of Michael

McDonald (“McDonald Decl.”) ¶ 8.

      Regarding the two Plaintiffs here, NEH terminated only a general

operating support grant to Plaintiff Oregon Council for the Humanities and

two Chair’s-discretion grants totaling $60,000 to Plaintiff Federation of State

Humanities Councils. Id. ¶¶ 9-10; Id. Exhibit (“Exh.”) B. Plaintiff Oregon

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Council for the Humanities is a non-profit corporation created to distribute

NEH funds to humanities projects in Oregon. The other Plaintiff, the

Federation of State Humanities Councils (“Plaintiff Federation”), is a

national nonprofit membership organization that undertakes activities

including advocating for increased investment in humanities projects.1 Am.

Compl. ¶¶ 34-35.

      On April 24, 2025, NEH issued a statement of its priorities and

frequently asked questions regarding its grants. McDonald Decl. Exhibit C

(also available at https://www.neh.gov/news/update-neh-funding-priorities-

and-agencys-recent-implementation-trump-administration-executive) (last

visited July 15, 2025).; see also McDonald Decl. ¶¶ 4, 16, 21, 23 (discussing

NEH’s mission and ongoing humanities work).

      NEH announced in early May 2025 its award of millions of dollars in

grants to support research, scholarship, or other projects in subjects

including the Holocaust, the history of the Deaf, William Blake, ancient

Rome, German Expressionist art, and African American photojournalism.

McDonald Decl. Exh. D (also available at https://www.neh.gov/news/neh-

announces-955-million-68-humanities-projects) (last visited July 15, 2025).


1 Plaintiff Federation represents almost all the 56 state and jurisdictional

humanities councils. See ECF 20, Declaration of Phoebe Stein ¶ 4. Plaintiffs
do not identify the one council that they say is not a member of the
Federation.

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      On May 15, 2025, Plaintiffs filed this action. ECF 1. They challenge

various grant termination notices issued to the humanities councils by NEH

in early April 2025. See ECF 8, Pls.’ Mem. 1.

      In early June 2025, NEH rescinded most of its April 2025 general

operating support grant terminations to the state and jurisdictional

humanities councils. NEH rescinded the grant terminations for Oregon and

all the other state humanities councils that later filed declarations in support

of Plaintiffs’ motion for preliminary injunction. See McDonald Decl. ¶¶ 17-18.

NEH stated that it would fund the councils in line with legislation regarding

how it must use its appropriation. Id. ¶ 18 & Exh E. By law, for any fiscal

year, NEH must designate not less than 20% of its overall appropriation for

carrying out its granting authorities under 20 U.S.C. § 956(f). 20 U.S.C. §

960(a)(1)(B).

      On June 11, 2025, after NEH rescinded the grant terminations,

Plaintiffs filed an amended complaint—the operative complaint. ECF 6.

Plaintiffs characterize their case as one challenging the “wholesale

dismantling” of NEH. Am. Compl. ¶ 119.

      In seeking a preliminary injunction, Plaintiffs allege that NEH’s grant

actions regarding the councils and other circumstances show an unlawful

“dismantling” of NEH. Pls.’ Mem. 1. According to Plaintiffs, Defendants

violated the law in “refus[ing] to spend funds appropriated by Congress” and

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violated the Impoundment Control Act of 1974. Id. Plaintiffs also argue that

Defendants violated the Administrative Procedure Act (“APA”) by not

applying a specific formula, not providing notice and opportunity to be heard

prior to modifying grant funding, and not providing a means for appeal. Id.

at 2.2 Plaintiffs seek an injunction to “restore” NEH grants to state and

jurisdictional councils to what they were prior to the April 2025 and June

2025 termination and rescission decisions. Id. at 30.

                              LEGAL STANDARD

      A preliminary injunction is an “extraordinary remedy that may only be

awarded upon a clear showing that the plaintiff is entitled to such relief.”

Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 22 (2008). A plaintiff

seeking a preliminary injunction must prove (1) that it is likely to succeed on

the merits; (2) it is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in its favor; and (4) an

injunction is in the public interest. Id. at 20.

      In the Ninth Circuit, courts may apply an alternative test which allows

for a preliminary injunction where a plaintiff shows “serious questions going

to the merits” and the balance of equities tips sharply in a plaintiff's favor,



2 Plaintiffs’ operative complaint alleges other counts/theories that are not

asserted or relied upon in their preliminary injunction motion, and
Defendants’ response therefore does not address these counts/theories.

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assuming the plaintiff proves the other two Winter elements. All. for the

Wild Rockies v. Cottrell, 632 F.3d 1127, 1131-32 (9th Cir. 2011). In any

event, a plaintiff requesting a preliminary injunction must carry its burden to

establish a “clear showing” of the four Winter elements. Lopez v. Brewer, 680

F.3d 1068, 1072 (9th Cir. 2012).

        There are two types of preliminary injunctions: (1) a prohibitory

injunction that “preserve[s] the status quo pending a determination of the

action on the merits,” and (2) a mandatory injunction that “orders a

responsible party to take action.” Marlyn Nutraceuticals, Inc. v. Mucos

Pharma GmbH & Co., 571 F. 3d 873, 878-79 (9th Cir. 2009) (citation

modified) (alteration in original). A mandatory injunction “ ‘goes well beyond

simply maintaining the status quo pendente lite [and] is particularly

disfavored.’ ” Stanley v. Univ. of S. Cal., 13 F.3d 1313, 1320 (9th Cir. 1994)

(cleaned up).

                                   ARGUMENT

   I.        Plaintiffs have no likelihood of success on the merits of their
             claims.

        A.     Plaintiffs have no likelihood of success on their
               separation of powers claim.

        Plaintiffs are unlikely to succeed on their claim that Defendants

violated the separation of powers. According to Plaintiffs, Defendants “have

refused to disburse funds in the manner required by Congress.” Pls.’ Mem.

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17. Plaintiffs are incorrect. See Vera Inst. of Just. v. U.S. Dep’t of Just., No.

25-cv-1643 (APM), 2025 WL 1865160, *17 (D.D.C. July 7, 2025) (finding no

likelihood of success on the merits of a separation-of-powers claim regarding

terminated federal grants); Harris Cnty., Texas, v. Kennedy, -- F. Supp. 3d. --,

No. 25-cv-1275 (CRC), 2025 WL 1707665, *9-*10 (D.D.C. June 17, 2025)

(same).

      To show a likelihood of success on the merits of their separation-of-

powers claim, Plaintiffs must—but cannot—demonstrate that Congress

specified when and how NEH’s appropriation must be spent.

      NEH is not required by Congress to spend all its appropriated funds

each year. See, e.g., Am. Compl. ¶ 65 (alleging that NEH “must spend” $207

million in 2025). Instead, Congress established for NEH that sums

appropriated “for any fiscal year shall remain available for obligation and

expenditure until expended.” 20 U.S.C. § 960(b)(1). Accordingly, the 2024

legislation appropriating funds to NEH makes clear that the agency’s $207

million in appropriations will “remain available until expended.” 2024

Appropriations Act, Pub. L. 118-42, 138 Stat. 25, 281 (Mar. 9, 2024).

      As this Court recognized for similarly worded “remain available until

expended” appropriations language, such “no year” language establishes

there is “no fiscal year limitation or expiration date.” Shoshone-Bannock

Tribes of Fort Hall Rsrv. v. Shalala, 988 F. Supp. 1306, 1330 (D. Or. 1997).

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NEH’s appropriation remains available to the agency even if that

expenditure does not occur within the year. The appropriations legislation

does not limit NEH’s discretion by compelling it to spend all the funds

appropriated to it by a date certain.

      Even if NEH does not spend all its appropriated funding within a given

year—which is speculative—that is not inconsistent with Congress’s

appropriation and does not violate the separation of powers. Where, as here,

grants are sourced to “no-year” appropriations, NEH is not required to

expend the funds by the end of a fiscal year and there is no viable separation

of powers claim. See Vera Inst., 2025 WL 1865160 at *17.

      Further, NEH has discretion not to spend amounts it allotted or made

available under the grant formulas laid out in 20 U.S.C. § 956(f)(4).

Pursuant to 20 U.S.C. § 956(f)(6), any such amounts allocated or made

available, but not granted to an entity, “shall be available to [NEH] for the

purpose of carrying out the agency’s mission under 20 U.S.C. § 956(c).

      Therefore, in addition to temporal flexibility, NEH also has flexibility

in whether it spends funds allotted to particular grantees and is not locked

into funding such grantees. Instead, Congress provided simply that of the

sums appropriated to NEH for any fiscal year, not less than 20% “shall be for




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carrying out” 20 U.S.C. § 956(f). 20 U.S.C. § 960(a)(1)(B).3 As the Supreme

Court has recognized, “[t]he allocation of funds from a lump-sum

appropriation is another administrative decision traditionally regarded as

committed to agency discretion.” Lincoln v. Vigil, 508 U.S. 182, 192 (1993).

“After all, the very point of a lump-sum appropriation is to give an agency the

capacity to adapt to changing circumstances and meet its statutory

responsibilities in what it sees as the most effective or desirable way.” Id.

      When, as here, Congress does not “specify restrictions” on how a lump-

sum appropriation must be used, it is presumed that Congress meant to leave

it to the recipient agency to distribute the funds among some or all the

permissible objects as it sees fit. Harris Cnty., 2025 WL 1707665 at *9 (citing

Lincoln, 508 U.S. at 192. Although 20 U.S.C. § 956(f)(4) sets an allotment

formula regarding distribution of grants, NEH by statute retains the plain

discretion not to grant such amounts as allotted and to spend the amounts on

other NEH program priorities. 20 U.S.C. § 956(f)(6).




3 Although Plaintiffs assert that Congress “designated” $65,000,000 annually

for the councils, Pls.’ Mem. 16, that supposed direction is nowhere in the
appropriation legislation passed by Congress. Instead, the $207 million in
appropriated funds approved by Congress for 2024 includes the generalized
direction that $192 million is for support of activities in the humanities and
administering the functions of the Act. 2024 Appropriations Act, Pub. L. 118-
42, 138 Stat. 25, 281 (Mar. 9, 2024).

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      Here, NEH intends to re-obligate grant funds to other permissible

agency grants and expenditures and that does not violate the separation of

powers. See Vera Inst., 2025 WL 1865160 at *17. NEH’s congressional

appropriation is open-ended and the agency can re-obligate money freed up

by modifications in particular grants. See Harris Cnty., 2025 WL 1707665 at

*9.

      Plaintiffs have not identified any statute that would prohibit NEH from

modifying grant agreements, reducing staff, or eliminating divisions or

programs. The governing statute establishing NEH authorizes the agency

head to disperse grants in accordance with broadly stated objectives. See 20

U.S.C. § 956(c). It does not entitle the Plaintiffs to guaranteed grant proceeds

at prior levels. Id. Plaintiffs do not identify anything in any relevant statute

that requires the agency to maintain particular levels of staff, dispense

particular quantities of grant funds over a specified time frame, or maintain

grant awards at prior levels.

      Had Congress meant to forbid NEH from modifying the grants at issue,

as in Harris County, “it could have easily said as much. But it did not.” 2025

WL 1707665 at *9. As with the agency in Harris County, NEH here “has not

refused to spend these funds; it has declined to spend them in a certain way.”

Id.



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      Finally, to the extent Plaintiffs cast their separation-of-powers claim as

constitutional to avoid jurisdictional and threshold obstacles (see infra

Argument I.C.), the claim is still barred because its essence is statutory. The

Supreme Court has made clear that “claims simply alleging that the

President has exceeded his statutory authority are not ‘constitutional’ claims,

subject to judicial review” for constitutionality. Dalton v. Specter, 511 U.S.

462, 472-74 (1994). Plaintiffs’ separation-of-powers claim hinges on whether

Defendants acted in accordance with their statutory obligations. See

Widakuswara v. Lake, No. 25-5144, 2025 WL 1288817, *5 (D.C. Cir. May 3,

2025) (finding no likelihood of success on separation-of-powers and

Impoundment Control Act claims).

      Because Plaintiffs have no likelihood of success on their separation of

powers claim, this Court should deny their request for a preliminary

injunction.

      B.      Plaintiffs have no likelihood of success on their
              Impoundment Control Act claim.

      Plaintiffs have no likelihood of success on their Impoundment Control

Act (“ICA”) claim. The ICA is enforced by the Comptroller General via civil

suit. 2 U.S.C. § 687. Further, such a suit may only be brought in the United

States District Court for the District of Columbia. See id. In addition, an ICA

suit is not to be brought “until the expiration of 25 calendar days of


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continuous session of the Congress following the date on which an

explanatory statement by the Comptroller General of the circumstances

giving rise to the action contemplated has been filed with the Speaker of the

House of Representatives and the President of the Senate.” Id.

      Enforcement of the ICA by the Comptroller General is exclusive; the

Supreme Court has explained that “when a statute provides a detailed

mechanism for judicial consideration of particular issues at the behest of

particular persons, judicial review of those issues at the behest of other

persons may be found to be impliedly precluded.” Block v. Cmty. Nutrition

Inst., 467 U.S. 340 (1984).

      Against this backdrop, it is well established that Plaintiffs have no

private right of action to bring an ICA claim—and therefore no likelihood of

success on their ICA claim. “Congress did not intend the [ICA] to create a

claim upon which relief can be granted to individuals in cases where the

executive has failed to report to Congress the withholding of funds or contract

authority.” Rocky Ford Hous. Auth. v. U.S. Dep’t of Agric., 427 F. Supp. 118,

134 (D.D.C. 1977); Gen. Land Off. v. Biden, 722 F. Supp. 3d 710, 733-35 (S.D.

Tex. 2024) (same); Rogers v. United States, 14 Cl. Ct. 39, 50 (1987) (“Congress

did not intend to create a private cause of action in cases of unauthorized

impoundments.”), aff’d, 861 F.2d 729 (Fed. Cir. 1993).



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      In any event, the separation of powers principles codified in the ICA

are not implicated here. In a nutshell, under the ICA, whenever the

President determines that congressionally appropriated funds should be

withheld from certain programs for one reason or another, the ICA mandates

that the President communicate the message to Congress in a particular way.

See 2 U.S.C. § 683. But here, congressionally appropriated funds are not

being withheld in tension with their congressional appropriation. As

explained supra, NEH appropriations are “no-year” and are not required to

be spent in a particular year. Nor are funds allocated under formulas to

certain types of grantees required to be spent on such grants; NEH by statute

has discretion not to spend funds so allocated and may spend the funds in

other ways. 20 U.S.C. § 956(f)(6),

      Plaintiffs identify no provisions in congressional appropriations

legislation that specify that they (or any specific grantees) must continue to

receive prior funding in a particular year. Plaintiffs argue that Congress

appropriated “nearly $130 million” to the councils from NEH over the last

two years. Pls.’ Mem. 19. But there is no such appropriation provision in the

2024 Appropriations Bills or 2025 Continuing Resolution. Further, Congress

in establishing the NEH made clear that its appropriation for any fiscal year

is not a single-year sum subject to expiration but remains available until



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expended. 20 U.S.C. § 960(b)(1). Defendants are not refusing to spend funds

that Congress required be spent in 2024 or 2025; the ICA is not implicated.

      Because Plaintiffs have no likelihood of success on their ICA claim, this

Court should deny their request for a preliminary injunction.

      C.     Plaintiffs have no likelihood of success on their APA
             claims.

           1. This Court lacks subject-matter jurisdiction over
              Plaintiffs’ claims concerning grant terminations.

      Plaintiffs have no likelihood of success on their APA claims because

this Court lacks subject-matter jurisdiction over them. No waiver of sovereign

immunity authorizes Plaintiffs to enforce contracts with the federal

government in federal district court. Instead, through the Tucker Act,

Congress vested the Court of Federal Claims with exclusive jurisdiction over

any claim founded upon any express or implied contract with the United

States. See 28 U.S.C. § 1491(a)(1).

      As the Supreme Court explained this year in Department of Education

v. California—in a challenge to grant terminations—“the Government is

likely to succeed in showing the District Court lacked jurisdiction to order the

payment of money under the APA” because “the Tucker Act grants the Court

of Federal Claims jurisdiction” over suits based on any contract with the

United States. 145 S. Ct. 966, 968 (2025) (per curiam).



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      The Supreme Court in Department of Education recognized that the

APA’s limited waiver of sovereign immunity “d[id]not extend” to the

injunction at issue, which the Court described as an “order[] to enforce a

contractual obligation to pay money.” Id. Whether claims are contractually

based for purposes of the Tucker Act depends “on the source of the rights

upon which plaintiff bases its claims, and the type of relief sought (or

appropriate).” North Star Alaska v. United States, 14 F.3d 36, 37 (9th

Cir.1994) (citing Megapulse, Inc. v. Lewis, 672 F.2d 959, 967–68 (D.C. Cir.

1982)). Where claims asserted are based on a contract, seek a declaration of

contract rights, or do not exist independent of a contract, they are barred by

the Tucker Act. Tucson Airport Auth. v. Gen. Dynamics Corp., 136 F.3d 641,

646-47 (9th Cir.1998).

      Recognizing that Department of Education “controls,” the D.C. Circuit

recently recognized that a district court likely lacked APA jurisdiction in

another dispute over an agency’s termination of grants because the Court of

Claims had exclusive jurisdiction given the inherently contractual nature of

the dispute. Widakuswara, 2025 WL 1288817 at *3-*5. Widakuswara noted

that the grant dispute arose when an agency terminated grants, and the

district court ordered “specific performance of the grant agreements—a

quintessentially contractual remedy.” Id. at *4. Several subsequent federal

district court decisions in the D.C. Circuit have found no likelihood of success

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on APA claims challenging federal grant terminations. Harris Cnty., Texas v.

Kennedy, -- F. Supp. 3d --, No. 25-cv-1275 (CRC), 2025 WL 1707665, *11-*15

(D.D.C. June 17, 2025); Vera Inst. of Just. v. U.S. Dep’t of Just., No. 25-cv-

1643, 2025 WL 1865160, *7-*14 (D.D.C. July 7, 2025).

      As in Department of Education v. California, the grants at issue here

are essentially contracts. The statute that created NEH authorizes its

“Chairperson, with the advice of the National Council on the Humanities . . .

to enter into arrangements, including contracts, grants, loans, and other

forms of assistance, for purposes including initiating and supporting research

and programs to strengthen the research and teaching potential of the

United States in the humanities.” 20 U.S.C. § 956(c). But NEH’s authorizing

statute and the 2024/25 appropriations legislation do not require that NEH

pay funding to specific grantees in a particular period. See, e.g., 20 U.S.C. §§

956(f)(6), 960(a)(1)(B), 960(b)(1).

      Here, therefore, Plaintiffs’ claims to funds for specific grants derive not

from these statutory authorities, but from the grants themselves, which NEH

had discretion to award. As alleged in Plaintiffs’ operative complaint, for the

grants at issue, grantees “may ask for funds in advance for a particular

expense” but the “majority of funds . . . are reimbursements” from NEH. See,

Am. Compl. ¶ 56 (describing the grants at issue). In return, the grantees

promised to use the funds in accordance with NEH’s requirements. See

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Declaration of Michael McDonald Exh. A, also available at General Terms

and Conditions for General Operating Support Grants to State and

Jurisdictional Humanities Councils https://www.neh.gov/sites/default/

files/2024-12/SHC%20TAC_FINAL.pdf (last visited July 15, 2025).

      These exchanges of promises constitute government contracts for

Tucker Act purposes. See Massie v. United States, 166 F.3d 1184, 1188 (Fed.

Cir. 1999) (“[A]ny agreement can be a contract within the meaning of the

Tucker Act, provided that it meets the requirements for a contract with the

Government, specifically: mutual intent to contract including an offer and

acceptance, consideration, and a Government representative who had actual

authority to bind the Government.”) (cleaned up).

      Further, the relief Plaintiffs seek with respect to the grants is

effectively specific performance of the government’s funding of the grants—a

contract remedy. Plaintiffs’ motion requests an injunction to “return[] NEH

grants to state and jurisdictional humanities counsels to the status quo prior

to the termination and rescission decisions.” Pls.’ Mem. 30. This a clear

specific performance contractual remedy. See Widakuswara, 2025 WL

1288817 at *4 (finding that a court’s order that grant agreements remain in

force or an order to pay money committed by grant agreement is “specific

performance”—“a quintessentially contractual remedy”); Vera Inst., 2025 WL

1865160 at *13 (rejecting APA jurisdiction and finding that the requested

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remedy of continued payment of grants is “specific performance” and

“essentially contractual”). Plaintiffs request a contractual remedy that shows

their claims fall under the Tucker Act and must be brought in the Court of

Federal Claims.

      Plaintiffs cannot evade the Tucker Act’s jurisdictional bar by styling

their contractual claims as APA claims. See, e.g., Pippenger v. U.S. DOGE

Serv., No. 25-CV-1090 (BAH), 2025 WL 1148345, at *5 (D.D.C. Apr. 17, 2025)

(concluding court was “deprive[d]” of “authority to consider claims sounding

in contract or to enjoin further termination of contracts, even if they are

styled as APA claims”); Sols. in Hometown Connections v. Noem, No. 25-cv-

885, 2025 WL 1103253, at *11 (D. Md. Apr. 14, 2025) (denying motion for

emergency relief challenging termination of grants considering Supreme

Court’s decision in Department of Education and concluding that plaintiffs’

APA claims were “in essence contract claims”); Order, Am. Ass’n of Colls. for

Tchr. Educ. v. McMahon, No. 25-1281 (4th Cir. Apr. 10, 2025), ECF No. 30

(staying district court’s preliminary injunction involving education-related

grants considering Department of Education).

      Finally, this Court lacks jurisdiction over all of Plaintiffs’ claims

relating to their grant agreements, whether styled as claims under the APA

or as violations of the separation of powers or the ICA. However styled, these

claims ultimately relate to the grants themselves, and should be heard in the

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Court of Federal Claims. See, e.g., Sols. in Hometown Connections, 2025 WL

1103253, at *10 (rejecting “argument that the source of [plaintiffs’] APA

claims in this case is statutory, regulatory and constitutional in nature” and

“conclud[ing] that the source of the rights with regards to [plaintiffs’] APA

claims here is their respective Grant agreements with [the government”).

      In seeking a preliminary injunction, Plaintiffs assert that Defendants

cannot rely on jurisdictional arguments. Pls.’ Mem. 26-27. But Plaintiffs fail

to show that their claims can succeed on the merits. Plaintiffs attempt to

liken their case to Bowen v. Massachusetts, 487 U.S. 879, 905 (1988). But

that case, unlike Plaintiffs’ case, did not involve contracts or a request for the

remedy of specific performance. Here, unlike in Bowen, Plaintiffs are seeking

to enforce a supposed obligation of NEH to pay money under specific grant

agreements. Their claims fall under the Tucker Act and must be brought in

the Court of Federal Claims. See Dep’t of Educ., 145 S. Ct at 968;

Widakuswara, 2025 WL 1288817 at *4 (discussing Department of Education

and concluding that a district court likely lacked jurisdiction to restore

terminated grants); Harris Cnty., 2025 WL 1707665 at *15 (rejecting

applicability of Bowen to contract-related litigation over grant agreements

made with executive-branch agencies).

      Plaintiffs also make the conclusory statement that Plaintiff Federation

has associational standing to sue on behalf of its member organizations

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because neither the claims asserted, nor the relief requested, requires the

participation or individual members in the lawsuit. Pls.’ Mem. 27. But

Plaintiffs provide no explanation for how this is so, although it is their

burden to establish standing. And notably, venue in Oregon appears

inappropriate regarding specific-performance relief for NEH grants to

individual members of Plaintiff Federation that are not parties to this case.

See Am. Comp. ¶ 33 (asserting Oregon venue only for Plaintiff Oregon

Council for the Humanities but not Plaintiff Federation). Plaintiffs’ memo

indicates that the non-Oregon members of the Federation are impacted

locally or within their individual states; there is no tie to the District of

Oregon. See Pls.’ Mem. 13-14.

          2. Plaintiffs otherwise have no likelihood of success on the
             merits of their APA claims.

      Plaintiffs otherwise have no likelihood of success on the merits of their

APA claims because: (1) statutes preclude judicial review of some claims, and

other adequate alternative remedies exist for such claims; (2) Plaintiffs have

not alleged the requisite discrete, final agency action and, instead, mount an

impermissible programmatic challenge; (3) the alleged actions challenged by

Plaintiffs’ APA claims—the termination of grants, the reduction of agency

personnel, the termination of departments, divisions, or programs, and

delays or pauses in grant funding—are committed to agency discretion by


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law; and (4) Plaintiffs mischaracterize the notice/appeal provisions that are

inapplicable in their case.

            a. APA review is unavailable because statutes preclude
               judicial review, and alternative remedies exist for such
               review.

      APA review is not available to the extent that other “statutes preclude

judicial review,” 5 U.S.C. § 701(a)(1), and the APA only provides a cause of

action where “there is no other adequate remedy in a court,” 5 U.S.C. § 704.

As discussed supra and infra, the Tucker Act and the statutory scheme for

challenging federal employment/personnel actions preclude APA claims here.

Moreover, the remedial schemes created by those statutes provide adequate

remedies to challenge the grant actions and employment/personnel actions

that Plaintiffs put at issue. Additionally, APA review is not available with

respect to Plaintiffs’ claim that Defendants violated the ICA, as that statute

provides for exclusive enforcement by the Comptroller General in the United

States District Court for the District of Columbia. See supra Argument I.B.

            b. Plaintiffs’ APA claims fail because they do not seek
               judicial review of a discrete agency action.

      Plaintiffs’ APA claims also fail to the extent they do not identify a

discrete and circumscribed final agency action that this Court can redress.

Plaintiffs repeatedly characterize their challenge as being to the dismantling

of the NEH. See, e.g., Pls.’ Mem. 1, 8, 16, 20. They challenge a collection of


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personnel actions, programmatic activities, and grant funding actions. See

id.

      The APA contemplates judicial review only of “agency action.” 5 U.S.C.

§ 704. As the Supreme Court has explained, a reviewable “action” is limited

to the set of “circumscribed, discrete agency actions” identified in the APA’s

definition of “action.” Norton v. S. Utah Wilderness All., 542 U.S. 55, 62

(2004). This definition, while expansive, is “not so all-encompassing as to

authorize [courts] to exercise judicial review [over] everything done by an

administrative agency.” Indep. Equip. Dealers Ass’n v. EPA, 372 F.3d 420,

427 (D.C. Cir. 2004). The APA does not permit “general judicial review of [an

agency’s] day-to-day operations,” Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871,

899 (1990), like “constructing a building, operating a program, or performing

a contract,” Vill. of Bald Head Island v. U.S. Army Corps. of Eng’rs, 714 F.3d

186, 193 (4th Cir. 2013). Nor does it authorize courts to oversee “the common

business of managing government programs.” Fund for Animals, Inc. v. U.S.

Bureau of Land Mgmt., 460 F.3d 13, 20 (D.C. Cir. 2006). Instead, Plaintiffs

must plead an “identifiable” action and “direct [their] attack against some

particular ‘agency action’ that causes [them] harm.” Lujan, 497 U.S. at 890-

91; see also Norton, 542 U.S. at 62.

      The APA thus contains a prohibition on “systemic challenges,” and does

not provide the courts “general supervisory authority over executive

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agencies.” Whitewater Draw Nat. Res. Conserv. Dist. v. Mayorkas, 5 F.4th

997, 1011 (9th Cir. 2021) (cleaned up). “Plaintiffs either must identify a

particular action by [a federal agency] that they wish to challenge under the

APA, or they must pursue their remedies before the agency or in Congress.”

Id. at 1012.

      Here, Plaintiffs present the type of systemic, wholesale challenge that

the APA forbids. Plaintiffs do not simply challenge the initial but since-

rescinded termination of the Oregon Council for the Humanities’ NEH grant

(which, as discussed supra, this Court lacks jurisdiction to review). Instead,

they seek review of NEH actions regarding dozens of other grants to

individual councils in other states, along with the reduction of agency

personnel and NEH changes to its organization structure. In essence,

Plaintiffs’ APA claims challenge NEH’s entire recent courses of conduct. That

is the opposite of the discrete, agency action that is required for review under

the APA. See Lujan, 497 U.S. at 891.

      Further, to the extent that Plaintiffs challenge NEH’s April 2025 grant

terminations to the humanities councils as “final” agency action, that is

incorrect, because the grant terminations were largely rescinded by NEH.

The terminations were not the consummation of the agency’s decisionmaking

process; they were superseded by NEH in June 2025.



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      To the extent Plaintiffs argue that the “dismantling” of the NEH is a

“discrete” final agency action, that assertion lacks merit. The D.C. Circuit

rejected that argument in Widakuswara, explaining that the “dismantling

plaintiffs allege[d]” in that case was “a collection of ‘many individual actions’

that cannot be packaged together and ‘laid before the courts for wholesale

correction under the APA.’” 2025 WL 1288817, at *3 (quoting Lujan, 497 U.S.

at 893).

      The operative complaint reflects that Plaintiffs seek wholesale judicial

review of the government’s management of NEH—its allocation of resources

and termination of grant agreements, its day-to-day decisions about staffing,

and changes to its organizational structure—rather than review of a discrete

action. Addressing the claims in each case would require the Court to

supervise agency activities, determine how the agency should accomplish

statutory functions, and second-guess grant determinations that were made

considering NEH priorities. Such review would circumvent the purpose of the

APA’s discrete agency action requirement, which is to “protect agencies from

undue judicial interference with their lawful discretion and to avoid judicial

entanglement in abstract policy disagreements which courts lack both

expertise and information to resolve.” Norton, 542 U.S. at 66-67.




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            c. APA review is unavailable because the challenged
               actions are committed to agency discretion by law.

      APA review is also unavailable to Plaintiffs because the actions

Plaintiffs challenge are “committed to agency discretion by law.” 5 U.S.C. §

701(a)(2). None of the authorities Plaintiffs cite limit NEH’s discretion to

make independent decisions about staffing and organizational structure, the

amount of appropriations to expend during a given period, and whether to

actually grant funds that were allotted under formulas to particular

categories of grantees.

      Courts have explained that agency action is “committed to agency

discretion by law” when a “statute is drawn so that a court would have no

meaningful standard against which to judge the agency’s exercise of

discretion,” rendering “meaningful judicial review . . . impossible.” Steenholdt

v. FAA, 314 F.3d 633, 638 (D.C. Cir. 2003) (quoting Heckler v. Chaney, 470

U.S. 821, 830 (1985)). This is true “even where Congress has not affirmatively

precluded review.” Heckler, 470 U.S. at 830. Hallmarks of a decision

committed to agency discretion include a statute that puts the onus on the

agency, not the courts, to apply a standard, see Webster v. Doe, 486 U.S. 592,

600 (1988), and general criteria that make it difficult for courts to

meaningfully second-guess an agency determination, see id.




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      The Act establishing NEH is such a statute. For one thing, it

authorizes the NEH Chairperson to “enter into arrangements, including

contracts, grants, loans, and other forms of assistance” aimed at various

humanities-related objectives—but does not require NEH to fund particular

grants even if funds are allotted to such grantees, maintain specific levels of

staffing, create or retain particular programs or departments, or fund grants

within any given time frame. See 20 U.S.C. § § 956(c), 956(f)(6), 960(b)(1).

See also Vt. Yankee Nuclear Power Corp. v. Nat. Res. Def. Fund, 435 U.S. 519,

545 (1978) (explaining that a court may not “dictat[e] to the agency the

methods, procedures, and time dimension” to make an agency decision).

      Moreover, the Act’s authorization to fund grants encompasses broadly

drawn topics and guidelines that would not provide a meaningful rubric for

court review. For example, the Act authorizes the chairperson to administer

grants pertaining to: “the pursuit of a national policy for the promotion of

progress and scholarship in the humanities”; “research and teaching

potential of the United States in the humanities”; “training and workshops in

the humanities”; “programs and research” with “substantial scholarly and

cultural significance”; and programs and research that “reach, or reflect the

diversity and richness of our American cultural heritage.” 20 U.S.C. § 956(c).

The statute thus gives the agency wide latitude to enter into grant

agreements that serve any of several expansive statutory goals.

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            d. Plaintiffs’ “contrary to law” APA claim is premised on
               notice/appeal provisions that are inapplicable in their
               case.

      For their “contrary to law” APA claims, Plaintiffs rely heavily on their

assertion that NEH terminated grants without the notice, opportunity for

hearing, or right of appeal that is supposedly required by statute. See, e.g.,

Pls.’ Mem. 20, 21, 22-23.

      Plaintiffs are incorrect. Plaintiffs rely on the Act at 20 U.S.C. §

956(f)(7) for their assertion that NEH failed to provide required notice and

opportunity to be heard. But that provision only applies in the following

enumerated circumstances: when a grantee’s compliance with the Act is at

issue; when a grantee’s compliance with the terms and conditions of an

approved plan or application is at issue; or when it is at issue that funds may

have been diverted from the purposes for which they are allotted or paid. 20

U.S.C. § 956(f)(7).

      These enumerated statutory circumstances are not applicable to the

grants here. Instead, NEH terminated the grants pursuant to 2 C.F.R. §

200.340(a)(4), which allows termination “if an award no longer effectuates the

program goals or agency priorities.” Neither the Act nor the regulations

required advance notice and opportunity to be heard in these circumstances.

Instead, the regulations require that NEH “provide written notice of



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termination” to the grant recipient—2 C.F.R. § 200.341(a), and there is no

question that NEH met this requirement.

      Plaintiffs are also incorrect that NEH violated grantees’ statutory or

regulatory right to an administrative appeal. That is because the applicable

regulations provide for such a right only in circumstances where NEH

initiates “a remedy for noncompliance.” 2 C.F.R. § 200.342. Here, NEH did

not find noncompliance by the grantees but instead found that their awards

no longer effectuated the program goals or agency priorities.

      Finally, for their “contrary to law” APA claim, Plaintiffs argue that

NEH’s grant actions violated a formula in 20 U.S.C. § 956(f)(4). Pls.’ Mem.

23. Plaintiffs are wrong. As NEH noted in rescinding its April 2025 grant

terminations, it is following a congressional requirement to fund section

956(f) activity at not less than 20% of the agency’s overall appropriation. 20

U.S.C. § 960(a)(1)(B). Further, the allocation formulas in section 956(f)(4) are

not an appropriation requirement. Instead, Congress provided in section

956(f)(6) that NEH has discretion not to fund allotted amounts under section

956(f)(4) and may spend these amounts on other agency programs. Finally,

NEH’s appropriation is “no-year” and need not be spent in any fiscal year.

See supra Argument I.A.




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            e. Plaintiffs’ arguments for their “arbitrary and
               capricious” APA claim are unpersuasive.

      Plaintiffs also argue that NEH violated the APA because it did not

provide “advance notice” that it was changing its “policy” regarding grants.

Pls.’ Mem. 25. But the cases they cite do not establish a requirement of

advance notice, and the applicable regulation is clear that a grant may be

terminated if NEH finds it no longer effectuates program goals or agency

priorities. See 2 C.F.R. § 200.340(a)(4).

      Nor are Plaintiffs “regulated entities” as in FDA v. Wages & White Lion

Invs., LLC, 145 S. Ct. 898, 917 (2025). The Wages & White Lion framework

relates to an APA claim—such as the challenge in that case to an agency’s

supposed policy change regarding premarket procedures for flavored e-

cigarette liquids—rather than claims relating to disputes with the

government over funding in specific grant agreements.

      In sharp contrast to the APA backdrop in Wages & White Lion,

Plaintiffs are parties that chose to contract with NEH; they applied for and

entered into grant agreements with NEH, which NEH terminated under

terms and conditions relating to agency’s needs and priorities. See

Declaration of Michael McDonald Exh. A, also available at General Terms

and Conditions for General Operating Support Grants to State and

Jurisdictional Humanities Councils


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https://www.neh.gov/sites/default/files/2024-12/SHC%20TAC_FINAL.pdf (last

visited July 15, 2025).

      Plaintiffs’ grant agreements with NEH establish the parameters of

their contractual relationship with NEH. NEH’s decisions regarding grant

funding were made under these contracts, and it is misguided to consider

APA “reliance interests” outside the terms and conditions of the contracts.

      D.    This Court lacks subject-matter jurisdiction over
            employee termination and personnel-related claims.

      Regardless of how they are labeled as claims, this Court lacks

jurisdiction over Plaintiffs’ assertions regarding the “firing of staff” at NEH

and the “elimination or near elimination of entire divisions” at NEH (see Am.

Compl. ¶ 174; Pls.’ Mem. 5).

      Congress has established comprehensive statutory schemes for

adjudicating employment disputes with the federal government. See, e.g., 5

U.S.C. §§ 1204, 7121-22, 7701 (Merit Systems Protection Board); id. § 1214

(Office of the Special Counsel); id. § 7104 (Federal Labor Relations

Authority); 41 U.S.C. §§ 7103–05 (Civilian Board of Contract Appeals). These

remedial schemes provide the exclusive procedures by which litigants may

pursue employment-related claims. See Elgin v. Dep’t of the Treasury, 567

U.S. 1, 5, 10-15 (2012) (“The [Civil Service Reform Act (“CSRA”)] established

a comprehensive system for reviewing personnel action taken against federal


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employees” and provides the “exclusive” avenue to judicial review of such

claims).

      Further, “[f]ederal employees may not circumvent [these statutes’]

requirements and limitations by resorting to the catchall APA to challenge

agency employment actions.” Grosdidier v. Chairman, Broad. Bd. of

Governors, 560 F.3d 495, 497 (D.C. Cir. 2009). “[T]hat principle applies to a

systemwide challenge to an agency policy . . . just as it does to the

implementation of such a policy in a particular case.” Nyunt v. Chairman,

Broad. Bd. Of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009) (citation

omitted).

      In Widakuswara, as in this case, the plaintiffs challenged agency

personnel actions in addition to grant terminations. Widakuswara v. Lake,

No. 25-5144, 2025 WL 1288817 (D.C. Cir. May 3, 2025). There, the plaintiffs

attempted to avoid the framework applicable to personnel actions by arguing

that, rather than challenging individual personnel actions, they challenged

the “wholesale shuttering of [Voice of America]” and the “dismantl[ing of] an

entire federal agency.” Id. at *3. The D.C. Circuit observed that “plaintiffs

may not use the APA to mount ‘wholesale’ challenges to an agency’s ‘entire

program,’” but rather “[t]he APA cause of action, like its sovereign-immunity

waiver, provides for judicial review of ‘discrete agency actions.’” Id. (quoting

Lujan v. Nat’l Wildlife Fed’n, 497 U.S. 871, 893 (1990) and Norton v. S. Utah

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Wilderness All., 542 U.S. 55, 64 (2004)). Thus, while the employees might

have “viable, discrete claims” with respect to “individual personnel actions,

those claims must be pursued through other remedial channels.” Id. This

reasoning is directly applicable here.

         Finally, Plaintiffs’ factual representations regarding

employment/personnel matters at NEH rely on inappropriate evidence.

First, Plaintiffs rely on pseudonymous declarations filed without leave of

court. See Pls.’ Mem. 5, 8, 9 (relying on declarations filed at ECF 12-13).

Absent extraordinary circumstances, “witnesses do not testify anonymously

under our system of laws.” Doe v. Los Angeles Unified School Dist., No. 2:16-

cv-00305-CAS (JEMx), 2017 WL 797152, *9 (declining to consider

declarations). Second, Plaintiffs rely on a news article for the truth of their

factual representations. See Pls.’ Mem. 8 n.8. This is not appropriate. See

Von Saher v. Norton Simon Museum of Art at Pasadena, 592 F.3d 954, 960

(9th Cir. 2010) (“Courts make take judicial notice of publications introduced

to indicate what was in the public realm at the time, not whether the

contents of those articles were in fact true.”) (cleaned up).

   II.      Plaintiffs fail to demonstrate a likelihood of irreparable
            harm that favors a preliminary injunction.

         In addition to establishing the merits element above, to obtain a

preliminary injunction, Plaintiffs must “demonstrate that irreparable injury


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is likely in the absence of an injunction.” Winter v. Nat. Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008) (emphasis in original). Plaintiffs fail to prove this

necessary element.

      Plaintiffs request an extraordinary order to unwind what has already

occurred—a so-called “mandatory” injunction. Such an injunction is

“particularly disfavored.” Marlyn Nutraceuticals, Inc. v. Mucos Pharma

GmbH & Co., 571 F.3d 873, 879 (9th Cir. 2009) (cleaned up). In general,

mandatory injunctions “are not granted unless extreme or very serious

damage will result and are not issued in doubtful cases or where the injury

complained of is capable of compensation in damages.” Id. (cleaned up).

      Plaintiffs claim a likelihood of irreparable harm because some non-

party state humanities councils have an “uncertain” financial situation and

“are operating on reserve funds,” and others have suffered financial hardship.

Pls.’ Mem. 28. But it is well settled that economic harm does not, in and of

itself, constitute irreparable harm. “The possibility that adequate

compensatory or other corrective relief will be available at a later date, in the

ordinary course of litigation, weighs heavily against a claim of irreparable

harm.” Sampson v. Murray, 415 U.S. 61, 90 (1974). Economic damages are

not considered irreparable if the injury can later be remedied by a damage

award. See L.A. Mem’l Coliseum Comm’n v. Nat’l Football League, 634 F.2d

1197, 1202 (9th Cir. 1980).

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      Plaintiffs fail to prove that extreme or very serious damage will result

if this Court denies their requested injunction. Instead, Plaintiffs may seek

full recompense under the Tucker Act in the Court of Federal Claims. In that

court, Plaintiffs have access by statute to “an entire remedy” that may

include “orders directing restoration to . . . position” and “such orders may be

issued to any appropriate official of the United States.” 28 U.S.C. §

1491(a)(2). Further, that court has “the power to remand appropriate

matters to any administrative or executive body or official with such direction

as it may deem proper and just.” Id.

      As the Supreme Court indicated in early April 2025 in Department of

Education v. California—more than a month before Plaintiffs filed this

action—grant termination challenges are likely outside district court APA

jurisdiction. 145 S. Ct. 966, 968 (2025).

      Ignoring the available Court of Federal Claims, nonetheless, Plaintiffs

argue that this Court should grant a mandatory injunction because the state

humanities councils have suffered damaged reputations and stability because

of NEH’s grant actions. Pls.’ Mem. 28. Although reputational injury can

constitute irreparable harm, Plaintiffs fail to adduce evidence showing that

such harm is imminent, and may not establish reputational harm based on

pronouncements that are “grounded in platitudes rather than evidence.” Herb

Reed Enters., LLC v. Fla. Ent. Mgmt., Inc., 736 F.3d 1239, 1250 (9th Cir.

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2013). Notably, Plaintiffs represent that without an injunction, NEH’s grant

terminations “will likely cause” humanities programming to close entirely

across states, but fail to cite any evidence supporting this speculation. Pls.’

Mem. 30.

      It is also salient that NEH has discretion to choose when and how to

support the humanities through specific grants within the agency’s

appropriation. Nor is it NEH’s role to be the primary funder of state and

local humanities activities. The legislation establishing the NEH found that

the encouragement and support of national progress and scholarship in the

humanities is “primarily a matter for private and local initiative.” 20 U.S.C.

§ 951(2).

      Plaintiffs argue that “all Americans” will suffer irreparable harm if

grants are not reinstated. Pls.’ Mem. 29. But abstract harm that might

befall unnamed third parties does not constitute irreparable harm in the

preliminary injunction context; irreparable harm must instead be connected

specifically to the parties before the court. See, e.g., Church v. Biden, 573 F.

Supp. 3d 118, 146 (D.D.C. 2021).

      The D.C. Circuit’s recent ruling in a grants-restoration case supports a

finding against Plaintiffs here on irreparable harm. In Widakuswara, 2025

WL 1288817, the court of appeals in assessing irreparable harm found that

the grantee plaintiffs “may seek to recover any wrongfully withheld grant

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funds in the [Court of Federal Claims].” Id. at *5. (noting that the Supreme

Court has “made clear that the [Court of Federal Claims] is likely the only

forum open to [plaintiffs].” Notably, Widakuswara found irreparable harm to

the government in the grants-restoration context, when the district court

required no injunction bond, and the government therefore could not recover

restored grant funding even if it were to prevail in its appeal. Id.

      Because any financial harms Plaintiffs have suffered or will suffer due

to NEH’s actions on their grants are recoverable in the Court of Federal

Claims, such harms do not establish irreparable injury. See Dep’t of Educ. v.

Cal., 145 S. Ct. at 969 (finding that “respondents would not suffer irreparable

harm” where “they have the financial wherewithal to keep their programs

running” and “can recover any wrongfully withheld funds through suit in an

appropriate forum”).

      For these reasons, this Court should deny Plaintiffs’ motion.

   III.   Neither the balance of equities nor the public interest favors
          a preliminary injunction.

      Plaintiffs also fail to meet their burden to prove that both the balance

of equities and public interest support their request for the extraordinary

remedy of a mandatory injunction. Where the government is a party, the

balance of equities and public interest elements merge. See Drakes Bay

Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014). Courts “should pay


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particular regard for the public consequences in employing the extraordinary

remedy of injunction.” Winter, 555 U.S. at 24 (cleaned up).

      The balance of equities and public interest factors do not tip to

Plaintiffs. It is true that the public has an interest in the Executive Branch’s

compliance with congressional mandates. At the same time, “the public has

an interest in the Judicial Branch’s respect for the jurisdictional boundaries

laid down by Congress.” Widakuswara, 2025 WL 1288817 at *6. Because

“grant disputes directly concern the public fisc, Congress has limited the

resolution of these potentially costly claims to specialized tribunals” such as

the Court of Federal Claims. Id. (finding for the government).

      The injunction Plaintiffs seek would disrupt NEH’s efforts to

implement the President’s directives while complying with the agency’s

statutory obligations. Executive Order 14222 required, among other things,

that agency heads review “all existing covered contracts and grants and,

where appropriate and consistent with applicable law, terminate or modify

[them] to reduce overall Federal spending or reallocate spending to promote

efficiency and advance the policies of [the] Administration.” Exec. Order. No.

14222, 90 Fed. Reg. 11095 (2025). Plaintiffs’ requested preliminary injunction

would disrupt NEH’s lawful execution of that process.

      Contrary to Plaintiffs’ suggestions, imposing the requested injunction

would do far more than simply require the government to maintain NEH as

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the law requires. See Pls.’ Mem. 30. As discussed, NEH has continued to

carry out its statutory functions, and NEH is not required to disburse the

entirety of the funds appropriated by Congress by any date certain or to pay

out grants even if funds are otherwise allocated for those grants. See supra

Argument I.A. Accordingly, Plaintiffs are not requesting that this Court

merely require Defendants to abide by the law; they, instead, are effectively

asking this Court to step in and direct NEH as to when, how, and at what

specific levels it must fund grants—an exercise that would interfere with the

agency’s lawful discretion.

      For further reasons, the injunction Plaintiffs seek is not well advised in

equity. Plaintiffs say that the public interest is served by maintaining the

status quo, but neglect to acknowledge that their requested injunction is a

mandatory injunction that goes beyond maintaining the status quo. See Pls.’

Mem. 30. Where NEH is legally entitled to make decisions about the timing

and specific levels for funding grants but is nonetheless ordered to release

funds into existing grants, such funds may not be retrievable afterwards. See

Dep’t of Education, 145 S. Ct. at 968-69 (noting “the Government’s

representation that it is unlikely to recover the grant funds once they are

disbursed”). Plaintiffs, in contrast, “can recover any wrongfully withheld

funds through suit in an appropriate forum” if they prevail on their claims.

Id. at 969. See also Harris Cnty., Texas, v. Kennedy, -- F. Supp. 3d. --, No. 25-

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cv-1275 (CRC), 2025 WL 1707665, *19 (D.D.C. June 17, 2025) (“Should it

turn out that the government is not required to pay out these grants, then

the government would likely be left without any means of recovering large

sums of taxpayer money.”).

      Accordingly, the balance of the equities and the public interest do not

favor Plaintiffs, and this Court should deny Plaintiffs’ motion.

   IV.     Any injunction should be narrowly tailored to the harms to
           the named plaintiffs.

      If this Court were to consider entering preliminary relief here, that

relief should be narrowly tailored to the grant terminations made directly to

the two plaintiffs in this action.

      Plaintiffs seek nationwide relief, because Plaintiff Federation has

members all over the country that are affected by NEH grant terminations.

Such a sweeping remedy is inappropriate, as explained below. That remedy

is also inappropriate because it exposes the government to the distinct

likelihood that it would be left without any means of recovering a large sum

of taxpayer money if it turns out the government is not required to pay out

these grants. See Harris Cnty., 2025 WL 1707665, *19.

      A.     Historical equity practice limits the scope of any
             injunction.

      In CASA, the Supreme Court addressed “universal injunctions,” which

it defined as injunctions that “prohibit enforcement of a law or policy against

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anyone,” as opposed to injunctions “prohibiting executive officials from

enforcing a challenged law or policy only against the plaintiffs in the

lawsuit.” Trump v. CASA, Inc., 606 U.S. __ (2025), slip op. (“Op.”) 1. The

Supreme Court explained that universal injunctions “likely exceed the

equitable authority that Congress has granted federal courts,” as universal

injunctions have no historical analogue in equity practice. Op. 1-2, 5-11. The

Court reiterated its prior pronouncement that “‘[n]either declaratory nor

injunctive relief . . . can directly interfere with enforcement of contested

statutes or ordinances except with respect to the particular federal

plaintiffs.’” Op. 8 (quoting Doran v. Salem Inn, Inc., 422 U.S. 922, 931

(1975)).

      The injunctive relief Plaintiffs seek is impermissibly broad because it

violates the principle, reinforced in CASA, that injunctive relief can only be

accorded to the “plaintiffs in the lawsuit.” Op. 1-2, 5-11. Plaintiffs seek a

mandatory injunction to restore not only the Oregon Council for the

Humanities’ (existing) grant to a higher prior level, but to similar restore

grants made to a host of state councils that are not parties in this action.

Such an injunction goes too far. Plaintiff Federation is not in privity with the

government and lacks any rights under the grants that NEH entered with

humanities councils. The Federation is neither a party to those grant

agreements nor an intended third-party beneficiary. The Federation lacks a

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legally protected interest in the grant agreements that NEH entered with

individual councils, which are nonparties to this case except the Oregon

Council for the Humanities.

      Pursuant to the Court’s opinion in CASA, if Plaintiffs demonstrate an

entitlement to any injunctive or declaratory relief, that relief should be

tailored to address only the termination of grants previously awarded to

Plaintiffs directly. Op. 1-2, 5-11, 16 (explaining that the “equitable tradition

has long embraced the rule that courts general may administer complete

relief between the parties”) (quotations omitted).

      B.    The principle laid out in CASA applies to any equitable
            relief Plaintiffs seek under the APA.

      If Plaintiffs argue that the principle reaffirmed in CASA does not

apply to the relief they seek under the APA, such an argument is misguided.

The Supreme Court in CASA noted that the decision did not resolve “the

distinct question whether the [APA] authorizes federal courts to vacate

federal agency action.”      Op. 11 n.10 (citing 5 U.S.C. § 706(2), which

authorizes courts to “hold unlawful and set aside agency action”). As

discussed below, however, nothing in the APA authorizes a court to vacate

an agency rule, and relief in APA cases is limited to the traditional scope of

equitable relief. Accordingly, the scope of relief available under the APA

here must be consistent with the principle articulated in CASA. Even if the


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Court were to find that the APA “allows federal courts to vacate federal

agency action,” Op. 11 n.10, this Court still should afford only party-specific

injunctive relief.

      While the APA authorizes courts to “hold unlawful and set aside

agency action,” 5 U.S.C. § 706(2), that language may not be equated with the

wholesale vacatur of agency action. There is nothing in the APA that

permits vacatur of agency action, much less the expansive unwinding of

NEH’s grant actions that Plaintiffs seek here. See United States v. Texas,

599 U.S. 670, 695 (2023) (Gorsuch, J., concurring) (in a case in which states

sought vacatur of executive actions based on alleged APA violations, writing

that the APA “does not say anything about ‘vacating’ agency action

(‘wholesale’ or otherwise)”). The history and structure of the APA support

that the better reading of “set aside” is that in reaching a decision, a court

should “disregard” the action taken by the agency in determining the

outcome of a case. Texas, 599 U.S. at 695 (Gorsuch, J., concurring)

(“Routinely, a court will disregard offensive provisions like these and

proceed to decide the parties’ dispute without respect to them.”). Here, for

example, assuming arguendo that the Court had jurisdiction over Plaintiffs’

grant-action claims, that might mean that the Court would “disregard”

Executive Order 14222 in determining whether to enjoin NEH’s action on



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Plaintiffs’ individual grants.4

      The structure of the APA likewise suggests that the “set aside”

language in Section 706 does not permit a remedy of vacating agency action.

Section 706 is the “Scope of review” section of the APA, not the remedies

section. “And ordinarily, when we think about the scope of a court’s review,

we do not think about the remedies that the court may authorize after

reaching its judgment on the merits. Instead, we think about the court’s

decisional process leading up to that judgment.” Id. at 696. From that

perspective, reading “set aside” to mean “disregard” rather than “vacate” fits

squarely within how a Court goes about reviewing the questions at issue.

See id. (“Understanding ‘set aside’ as a command to disregard an unlawful

rule in the decisional process fits perfectly within this design. Understanding

the phrase as authorizing a remedy does not.”).

      Indeed, the “set aside” language does not appear in Section 703 of the

APA, which addresses the remedies available under the APA. Section 703

permits “any applicable form of legal action, including actions for

declaratory judgments or writs of prohibitory or mandatory injunction or

habeas corpus, in a court of competent jurisdiction.” 5 U.S.C. § 703.


4 NEH carried out the initial grant terminations at issue here under

Executive Order 14222, which required that agency heads terminate or
modify existing contracts and grants to reduce overall federal spending. See
Executive Order 14222, 90 Fed. Reg. 11095 (2025).

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“Conspicuously missing from the list is vacatur.” Texas, 599 U.S at 698

(Gorsuch, J., concurring). It would not make sense for Congress to have

listed most remedies in Section 703 “only to bury another (and arguably the

most powerful one) in a later section addressed to scope of review.” Id.

      Defendants acknowledge that the Ninth Circuit has on occasion

permitted the vacatur of agency regulations under the APA. See, e.g., East

Bay Sanctuary Covenant v. Garland, 994 F.3d 962, 987 (9th Cir. 2021).

However, such decisions postdate the APA by more than four decades and

are not probative of its original meaning and legislative intent. Nor did such

decisions confront or reconcile universal vacatur of an agency’s action with

the APA’s text, structure and history. They therefore do not bind this Court

or preclude this Court from reaching a different conclusion. See Texas, 599

U.S. at 701 (Gorsuch, J., concurring) (“At the end of the day, the States fall

back on lower court decisions. ‘For more than 30 years,’ they say, ‘vacatur

has been the ordinary result when the D.C. Circuit determines that agency

regulations are unlawful.’ . . . Doubtless, to the extent those decisions are

carefully reasoned, they merit respectful consideration. But, equally, they

do not bind us.”).

      Moreover, to the extent Plaintiffs may rely on Justice Kavanaugh’s

concurring opinion in Corner Post, Inc. v. Bd. of Governors of Fed. Rsrv. Sys.,

603 U.S. 799, 838 (2024), which would permit vacatur as relief in an APA

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action, that decision necessarily did not consider the Court’s later ruling in

CASA. With respect to statutory interpretation on the meaning of “set aside,”

Defendants respectfully submit that the concurring opinion by Justice

Gorsuch in Texas is more persuasive than Justice Kavanaugh’s concurring

opinion in Corner Post.

      If the Court agrees that the APA does not authorize vacatur and that

the remedies available under the APA are limited to traditional equitable

remedies, pursuant to Section 703 of the APA, CASA then limits the relief

available under the APA to “the party-specific principles that permeate our

understanding of equity.” Op. 8. Thus, to the extent Plaintiffs’ request for

an injunction is premised on the APA, any injunction should be carefully

tailored to addressing the grants awarded to Plaintiffs themselves.

      But even if the Court reads Section 706 to authorize equitable power

to vacate agency action, it still should not grant the sweeping relief sought

by Plaintiffs. Congress enacted the APA against a background rule that

statutory remedies should be construed in accordance with “traditions of

equity practice.” Hecht Co. v. Bowles, 321 U.S. 321, 329 (1944). Courts “do

not lightly assume that Congress has intended to depart from established

principles” of equity, Weinberger v. Romero-Barcelo, 456 U.S. 305, 313

(1982), and ordinarily courts expect that Congress will make “an

unequivocal statement of its purpose” if it intends to make “a drastic

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departure from the traditions of equity practice,” Hecht, 321 U.S. at 3299.

Again, as reflected in CASA, there is no basis in equity for a universal

injunction that goes beyond remedying the direct harms incurred by the

plaintiffs who have brought the lawsuit.        Op. 5-11.       In Texas, Justice

Gorsuch employed a similar analysis as that articulated in CASA, that

“[t]raditionally, when a federal court finds a remedy merited, it provides

party-specific relief, directing the defendant to take or not take some action

relative to the plaintiff” and that “[i]f the court’s remedial order affects non-

parties, it does so only incidentally.” See Texas, 599 U.S. at 693 (Gorsuch,

J., concurring); accord Op. 10 (“The bottom line? The universal injunction

was conspicuously nonexistent for most of our Nation’s history. Its absence

from 18th and 19th-century equity practice settles the question of judicial

authority.”); Op. 16 (“While party-specific injunctions sometimes advantage

nonparties, they do so only incidentally.”) (citation, quotations, and

alterations omitted). To grant universal relief under the auspices of vacatur

would be inconsistent with the tenets on which the Supreme Court’s CASA

analysis is founded. Compare Texas, 599 U.S. at 703 (Gorsuch, J.,

concurring) (“[U]niversal relief, whether by way of injunction or vacatur,

strains our separation of powers. It exaggerates the role of the Judiciary in

our constitutional order, allowing individual judges to act more like a

legislature by decreeing the rights and duties of people nationwide.”) with

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Op. 26 (“[F]ederal courts do not exercise general oversight of the Executive

Branch; they resolve cases and controversies consistent with the authority

Congress has given them.”). Accordingly, even if this Court recognizes

vacatur as a potential remedy under the APA, the Court should consider it

in the context of the equitable analysis reiterated in CASA. Consistent with

traditional principles of equity, any equitable remedy the Court grants

here—even vacatur—should apply only to the named parties. See Op. 5-11.

   V.      Any injunctive relief should be stayed pending appeal and be
           conditioned on a bond.

        To the extent this Court issues any injunctive relief, Defendants

respectfully request that such relief be stayed pending the disposition of any

appeal that is authorized by the U.S. Solicitor General, or at a minimum,

administratively stayed for a period of seven days to allow the government to

seek an emergency, expedited stay from the court of appeals if an appeal is

authorized.

        Defendants also respectfully request that any injunctive relief be

conditioned on a bond under Fed. R. Civ. P. 65(c), which provides that “[t]he

court may issue a preliminary injunction or a temporary restraining order

only if the movant gives security in an amount that the court considers

proper to pay the costs and damages sustained by any party found to have

been wrongfully enjoined or restrained.”


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      A bond is appropriate here given that any preliminary injunction would

potentially mandate that the government spend money not recoupable once

distributed. See Dep’t of Educ. v. Cal., 145 S. Ct. 966, 969 (2025) (finding

that the plaintiffs “have not refuted the Government’s representation that it

is unlikely to recover the grant funds once they are disbursed,” when no

grantee promised to return withdrawn funds should its grant termination be

reinstated and the district court declined to impose bond).

                                CONCLUSION

      For the foregoing reasons, the Court should deny Plaintiffs’ motion for

preliminary injunction.


DATED this 15th day of July 2025.

                                     Respectfully submitted,

                                     WILLIAM M. NARUS
                                     Acting United States Attorney
                                     District of Oregon

                                     /s/ Sean E. Martin
                                     SEAN E. MARTIN
                                     Assistant United States Attorney
                                           Attorneys for Defendants




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                     CERTIFICATE OF COMPLIANCE

      The preceding memorandum complies with the applicable word-count

limit under LR 7-2(b), because it comprises 10,976 words, based on the word-

count of the word processing system used to prepare the memorandum. This

word count includes headings, footnotes, and quotations, but excludes the

caption, table of contents, table of authorities, signature block, and any

certificates of counsel.


      Dated this 15th day of July 2025


                                     Respectfully submitted,

                                     WILLIAM M. NARUS
                                     Acting United States Attorney
                                     District of Oregon

                                     /s/ Sean E. Martin
                                     SEAN E. MARTIN
                                     Assistant U.S. Attorney




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